
Shauck, J.
In support of this motion, the defendant relies upon our own decision in The Stat ex rel. Pierce &amp; Coleman v. The Board of Education of Piqua, in Miami county, where we sustained a motion identical with this.
It was insisted there, as it is here, on behalf of the relator, that the right of appeal in such a case is conferred by section five thousand two hundred and twenty-six, of the revised statutes. In order that a case come within the terms of that section, three conditions must exist concurrently, viz., that it be a civil action ; that it be one of which the court of common pleas had original jurisdiction, and that the right to demand a jury did not exist. That the case presented the two conditions last named was not doubted.
*128But upon consideration of the statutory provisions affecting the question, and upon what we conceived to be the explicit authority of Chinn v. The Trustees, etc., 32 O. S., 236, we concluded that mandamus is a special proceeding' and not a civil acton, and, therefore, that no appeal could be taken.
It was then suggested, that the question is not now concluded by the authority of Chinn v. The Trustees, because the legislature, in making the recent revision of the statutes, intended to transform the special proceeding in mandamus into a civil action. No evidence of such intention was pointed out. That such intention existed with respect to dower and other subjects embraced in title one ol part third, seemed inferable from their association with civil actions, and from the fact that with respect to service and modes of procedure, they are within the general provisions relating to civil actions. We were, however, unable to make such inference with respect to proceedings in mandamus. Section five thousand and thirty-five provides that “ a civil action must be commenced by filing in the office of the • clerk of the-proper court a petition and causing a summons to be issued thereom”
In chapter two, of title four, mandamus is defined to be “ a writ issued in the name of the State to an inferior tribunal, etc.,” and by the provisions of that chapter the issuing of a summons is dispensed with. Whether any form of notice shall be given the defendant, is within the discretion of the court. In certain cases a peremptory writ may issue in the first instance ; that is, the final relief sought may be awarded without regard to the steps that are deemed indispensable to valid final judgments in civil actions. It is further provided in the chapter referred to, that the defendant “ may answer as in a civil action,” and that he “ may demur to the reply asina civil action.” It seemed to us that this language would become incomprehensible if we should regard the chapter as relating to a civil action.
Chapter three of the same title relates to quo warranto, and it is made a civil action by the express provision of the first section ; and as to service and procedure it is made subject to the general provisions which govern civil actions.
Hatfield, Wicoff &amp; McKercher, for relator.
Col. Wilson and G. A. Marshall, for defendant.
We also thought it worthy of consideration, that at the time of the revision, the court of common pleas had no jurisdiction in mandamus, and that such jurisdiction was not conferred. It did not seem to be a natural presumption, that the legislature intended to make this proceeding the subject of an appeal under section five thousand two hundred and twenty-six, when it was not within the jurisdiction of that court, from whose judgments alone such appeal could be taken; or that it was intended to invest it with the general incidents of a civil action, since it could not be instituted in that court in which civil actions were generally cognizable.
This view of the question presented led us to the conclusion, that the revision of the statutes had only added to the reasons which had already induced the supreme court to hold in Chinn v. The Trustees, that mandamus is-a special proceeding, and not a civil action.
But our attention is now directed for the first time to the recent decision of the Supreme Court in The State ex rel. Dutten v. The Village of Hanover, 42 O. S., 215. The first proposition of the syllabus relates to the issues in a mandamus case, and concludes; “ either party might appeal from the judgment of the common pleas thereon.” It is true that the right of appeal seems to have been contested in that case upon the untenable ground that the right to demand a jury existed in the case, and that the report does not show that Chinn v. The Trustees was called to the attention of the court, or that the court considered whether it was a civil action, or a special proceeding. But a subordinate tribunal ought not to reason itself into insubordination. This question was presented by the record, whether relied upon or not. We must assume that the supreme court gave the consideration which it thought due to all questions that were involved in the conclusion which it announced. That conclusion plainly is that an appeal may be taken from the final judgment of the court of common pleas in a case of this character.
Motion overruled.
